                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION (DETROIT)

In re:

Candis Koch,                                             Case No.: 15-42834
                                                         Chapter 7
         Debtor.                                         Hon. Mark A. Randon

____________________________/

Daniel M. McDermott,

         Plaintiff,

v.                                                       Adversary Proceeding
                                                         Case No.: 15-04644

Candis Koch,

         Defendant.
                                       /

     OPINION AND ORDER GRANTING THE UNITED STATES TRUSTEE’S
          OBJECTION TO DEFENDANT’S CHAPTER 7 DISCHARGE

I.       INTRODUCTION

         Candis Koch was a restaurateur and real estate investor. As a business owner, she

successfully navigated several complex financial and real estate transactions. But when

mounting debt necessitated an individual Chapter 7 bankruptcy, Koch failed to list all of

her assets; substantially under reported her liabilities; listed “$0.00” in income and

expenses; and omitted several pre-petition property transfers to her daughter. Three

weeks later, during her 341 Meeting of Creditors, Koch testified that she had listed all of




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her assets and liabilities–when she still had not–and said that her schedules did not need

to be amended–when, quite obviously, they did.

       For ten months, the original filings stood, essentially unchanged. It was not until

after the United States Trustee (“UST”) and a creditor challenged her right to a

discharge–and the Court ordered her appearance at a Rule 2004 examination–that Koch

obtained new counsel; amended her schedules to accurately reveal the state of her

financial affairs and property transfers; and turned over approximately $9,000.00 to the

Chapter 7 Trustee. As for the original omissions and false statements, Koch blames: (1)

the ineptitude of her first bankruptcy attorney; (2) her belief that her daughter “technically

owned” property titled in Koch’s name; and (3) imprecise questioning by the Chapter 7

Trustee. The Court conducted a two-day trial.

       Because the Court finds that Koch’s testimony was not credible, and her proffered

justifications belied by her record as a sophisticated businesswoman, the Court DENIES

Koch a Chapter 7 discharge under sections 727(a)(2)(A) and 727(a)(4)(A) of the

bankruptcy code.

II.    JURISDICTION

       The Court has subject-matter jurisdiction over this adversary proceeding under 28

U.S.C. § 1334(b). This is a core proceeding under 28 U.S.C. § 157(b)(2)(J).1



       1
        “The parties do not contest the jurisdiction of the Court to hear and determine this
matter and to enter appropriate final orders and judgments in this case.” Joint Final
Pretrial Order (Dkt. No. 49 at p. 2).

                                              -2-



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III.   FINDINGS OF FACT

       A.     Koch’s Businesses

       Koch owned several companies, including: The T.A.C. Group, Inc.; Tin Fish II,

LLC; Tin Fish III, LLC; Tin Fish of Novi, LLC; and Brandon Investments, Inc. She had

been in the restaurant business for at least 15 years and a licensed real estate broker for at

least 35 years. Through Brandon Investments and her friend’s company, Dawn

Investments, Koch flipped dozens of houses and at least one commercial building.

       In 2002, Koch purchased her first Tin Fish restaurant in Fair Haven. That

restaurant operated until 2011. She borrowed approximately $1.2 million from Fifth

Third Bank to pay off the Fair Haven property and finance the acquisition of furniture,

fixtures, and equipment for a second Tin Fish restaurant at the Partridge Creek Mall in

2008. That restaurant operated until 2014. In 2010, while both the Fair Haven and

Partridge Creek restaurants were still in operation, Koch opened a third Tin Fish

restaurant at the Twelve Oaks Mall. That restaurant operated until 2013.

       Koch did not always use conventional financing: she had individual investors

including her brother, Robert Beller; her brother-in-law, Mark Dermanulian; and her

friend, Father Paul Chateau.

       Koch’s daughter, Allison, “owned” two related companies: (1) Tin Fish

Management, LLC; and (2) C-Squared, LLC. Tin Fish Management operated a Tin Fish




                                                -3-



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restaurant at Jefferson Beach Marina from 2013 until 2015.2 Allison, however, testified

at her deposition that she did not know anything about C-Squared.3 According to Allison,

the only business she had an interest in was Tin Fin Management:

      Q.     Do you have any interest in any business?

      A.     Right now? No.

      Q.     Okay. Have you, since you graduated from high school?

      A.     Have I owned any businesses since I graduated from high school?

      Q.     Yes.

      A.     Yes. Tin Fish Management.

      Q.     Any others?

      A.     No.

      Q.     Have you had an interest in any companies, businesses, entities, you
             know, whatever you want to call them, since you graduated from
             high school?

      A.     No.

      Q.     As far as you know, have you been a member of any LLCs, since
             you graduated from high school?

      A.     No, just Tin Fish Management.

                                      *       *     *


      2
      Koch was experiencing financial difficulties when Allison’s company, Tin Fish
Management, opened the Jefferson Beach restaurant.
      3
       Koch testified that when Allison’s deposition was taken, there was a rift between
them; Allison testified at her deposition that she talks to her mom “every day.”

                                              -4-



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       Q.     Was C-Squared an entity owned or operated by your mom?

                                          *     *     *

       A.     I’m not sure. I think so.

(Dep. at pp. 26-27, 133).

       B.     Koch’s Financial Dealings with Allison

       In December 2010, Koch deeded a condominium in Naples, Florida to Allison for

no consideration. Allison later sold the condo for $500,000.00; her approximate net profit

was $300,000.00. She used $82,000.00 of the proceeds to purchase a house on Jefferson

Avenue where Koch currently resides, rent free. It is unclear how much, if any, of the

proceeds went into Allison’s bank account.

       Koch started regularly accessing Allison’s bank account in 2014. Allison testified

at her deposition that: (1) “[her] mom can write whatever checks she wants out of [her]

checkbook”; (2) “[her] mom can do whatever she wants with [her] bank account”; (3)

“[she] trust[s] her [mom] a hundred percent. She [her mom] can do whatever she wants

with [her] bank account.” (Dep. at pp. 35, 40). Indeed, the following exchange occurred

during Allison’s deposition:

       Q:     So would your mom write a check out and then you would just sign
              it, out of your account?

       A.     She can, sure.

                                          *     *     *

       Q.     Did she ever write out checks . . . from your account and just put
              them in front of you and ask you to sign them?

                                                -5-



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      A.     Nothing without my knowledge or consent.

      Q.     So if she wrote this check out and you signed it, what did she tell you
             it was for?

      A.     I don’t ask. I trust whatever she wants to do with my account.

                                      *     *       *

      A.     My mom can do whatever she wants with my account, that’s fine.

(Dep. at pp. 48, 56-57). The evidence shows Koch freely wrote checks to various

companies to and from Allison’s account–with no apparent benefit to Allison:

      1.     Brandon Investments to Allison;4

      2.     Allison to Brandon Investments;5

      3.     Allison to Dawn Investments;6

      4.     Dawn Investments to Allison;7

      5.     Allison to C-Squared;8

      6.     C-Squared to Allison;9




      4
       These checks totaled at least $25,000.00.
      5
       These checks totaled at least $80,000.00.
      6
       One of these checks was in the amount of $1,500.00.
      7
       One of these checks was in the amount of $107,169.58.
      8
       These checks totaled at least $562,405.00.
      9
      One of these checks was in the amount of $26,279.32. At trial, Koch recalled that
C-Squared loaned Allison money to purchase houses that she had to repay.

                                            -6-



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       7.        C-Squared to Tin Fish Management;10

       8.        The T.A.C. Group to Allison;11 and

       9.        Tin Fish III to Tin Fish Management.12

Whether Allison actually signed these checks is unclear: Allison had a signature stamp,

which Koch testified at her deposition she “sometimes” used.13 More importantly,

Allison testified at her deposition that she did not recognize any of the checks and did not

recall receiving any money from the various companies.14 During her deposition, Koch

could not recall some of the transactions:

       Q.        Did Brandon Investments have any relationship to your daughter?

       A.        No.

                                         *       *     *

       Q.        Did Brandon owe Allison any money?

       A.        Allison Group?

       Q.        No, Allison your daughter, Allison Koch. Sorry about that.



       10
            One of these checks was in the amount of $10,000.00.
       11
            One of these checks was in the amount of $51,000.00.
       12
            One of these checks was in the amount of $10,000.00.
       13
        Koch testified at trial that it was “very rare” for her to use Allison’s stamp; she
wrote out the checks and Allison signed them. The Court does not find Koch’s testimony
credible on this issue.
       14
        Koch also endorsed several checks written to “Cash” from Allison’s account and
the account of C-Squared.

                                                 -7-



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      A.     No.15

      Q.     And same with Dawn Investments, did Dawn Investments have any
             sort of relationship with your daughter?

      A.     No.

      Q.     Would they have owed her any money?

      A.     No.16

                                      *      *     *

      Q.     And do you know why Brandon Investments would have been
             paying Allison?

      A.     I do not. I’d have to look at the scope of everything.

      Q.     Did Brandon ever owe Allison any money?

      A.     I don’t think so.

                                      *      *     *

      Q.     Do you know why Allison would have been paying Dawn
             Investments money?

      A.     No, I don’t, not unless I saw the whole context of what was going
             on.

      Q.     Do you know just in general, though, would there be a reason for
             Allison to pay Dawn Investments?



      15
        At trial, Koch recalled that Brandon Investments paid Allison because she did
work for that company. She also testified that Brandon Investments loaned Allison
money to purchase houses that she had to repay.
      16
        At trial, Koch recalled that Dawn Investments loaned Allison money to purchase
houses that she had to repay.

                                             -8-



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      A.        Like I say, I don’t know for sure[.]

                                         *      *      *

      Q.        Let’s go to the bottom one, for example, Dawn Investments to
                Allison for $107,000.00, Check 8492. Why would Dawn being[sic]
                paying Allison that amount of money?

      A.        It’s very possible – I see in the memo it’s a property on Oakridge.
                Without looking at everything, I would assume that it’s a repayment
                for the cost of buying that house, I’m assuming.17

                                         *      *      *

      Q.        Do you know why TAC was paying Allison $51,000.00?

      A.        I do not.

      Q.        Do you know if TAC Group – why it would have owed Allison any
                money?

      A.        I don’t think she loaned them any money.18

      Q.        Do you know what happened to this $51,000.00?

      A.        No, I don’t.

                                         *      *      *

      Q.        As far as it pertains to the Tin Fish III checks to Tin Fish
                Management, do you know why Tin Fish III was making these large
                sums of payment to Tin Fish Management?




      17
           Allison was not familiar with the Oakridge property.
      18
        Although Allison was not a creditor of The T.A.C. Group, it gave Allison this
money during the time it owed legitimate debts such as taxes on the Fair Haven Tin Fish
property.

                                                -9-



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          A.        I don’t.19

(Dep. at pp. 44-45, 56, 67-68, 79, 191).

          According to Allison, Tin Fish Management also paid Koch’s loans from Mr.

Beller:

          Q.        Do you know why your company, Tin Fish Management, was paying
                    Mr. Beller?

          A.        A repayment of a loan that he loaned to her [Koch], I believe.

          Q.        Well, what about – this check here is Tin Fish Management to
                    Robert Beller.

          A.        Right.

          Q.        Did Mr. Beller loan Tin Fish Management money?

          A.        No.

          Q.        So do you know why Tin Fish Management was paying Mr. Beller?

          A.        I was paying it for my mom.

          Q.        You were paying Mr. Beller for your mom?

          A.        Right.20




          19
               At trial, Koch recalled that Tin Fish III loaned money to Tin Fish Management.
          20
         One of these checks was in the amount of $2,833.33. At trial, Koch originally
testified that she did not know why Tin Fish Management paid Mr. Beller; she later
indicated that he was an investor for Tin Fish Management.

                                                    -10-



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(Dep. at pp. 127-128). In addition, Mr. Beller was paid from a joint bank account held by

Koch and Allison as well as from C-Squared’s account.21 Koch also paid Father Paul at

least $32,500.00 from the joint bank account.22

       According to Koch, she no longer uses Allison’s account.

       C.     Pre-Petition Transfers from Koch to Allison

       Koch was the title holder of a 2002 Bombardier personal water craft. On February

10, 2015–two weeks before filing bankruptcy–she transferred title to Allison.

       Koch also transferred title to two vehicles to Allison within the year preceding her

bankruptcy: a 2007 Saturn Sky was transferred on March 24, 2014; and a 2009 Jeep

Grand Cherokee was transferred on February 10, 2015–again just two weeks before the

bankruptcy.

       D.     Pre-Petition Meeting with Koch’s First Bankruptcy Attorney

       Koch’s first bankruptcy attorney was Martin Krall. He testified at his deposition

that he met with Koch approximately two or three days before the bankruptcy filing and

reviewed the petition and schedules with her:

       Q.     What happened on[sic] the meeting on February 24th? What exactly
              did you and Ms. Koch do?



       21
         One of the checks from C-Squared’s account was for $100,000.00. Allison did
not recall signing that check and did not recall why it was written.
       22
         At trial, Koch testified that C-Squared had a general ledger showing its financial
transactions, but other than that, neither she nor Allison kept track of which entities
loaned money and who was repaid.

                                             -11-



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      A.     We went over the petition and schedules and it basically was I was
             completing the schedules with her.

      Q.     You say that you were completing the schedules, were you asking
             her the questions in the schedules?

      A.     Correct, yes.

                                       *       *     *

      Q.     So just so I have the timeframe right you prepared the schedules with
             Ms. Koch on February 24th when she signed the documents, and the
             emergency petition was filed two day[s] later, correct? Verbal?

      A.     Yes. Oh, I’m sorry.

                                       *       *     *

      Q.     When you prepare Statement of Financial Affairs for clients do you
             ask them each individual question?

      A.     Generally, yes, you know, getting towards of[sic] end of the form
             when you ask about environmental property if I know their situation
             I don’t ask them that.
                                     *     *     *

      Q.     Let me ask you about question number ten, can you tell me how
             would you have explained question number ten to Ms. Koch? Do
             you recall how you explained question number ten to Ms. Koch?

      A.     No, I don’t recall specifically. Generally speaking I ask people
             simply did they transfer any property in the last two years, that
             includes, you know, typically most of these clients may have sold a
             car or something, you know, and I reference selling a car or anything
             else like that.

(Dep. at pp. 13-14, 53-54). He also discussed an Initial Client Questionnaire with Koch:

      Q.     After you got a questionnaire, an initial client questionnaire like this
             back, did you then go through each of the questions with the client?


                                              -12-



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       A.     Yes, but in Miss Koch’s case it was in connection with the whole
              petition and schedules, too, because it was a rush filing.

       Q.     Okay. So let me just ask you specifically about Ms. Koch’s case[.]
              [Y]ou believe that she probably came in with this initial client
              questionnaire filled out. Tell me what happened next?

       A.     Honestly, I don’t recall. I think that, again, the best I can recall is
              that she came in on the February 24th date and brought this material
              with her.

       Q.     Okay.

       A.     I mean, but, again, that’s just my recollection because I know I would
              have reviewed this with her. So I’m just assuming that she brought it
              in on the 24th. She could have brought it in before that.

(Dep. at pp. 31-32) (emphasis added). Attorney Krall also informed Koch of the

importance of including all of her debts in the bankruptcy filing:

       Q.     Now, if Ms. Koch had told you that she owed Paul Chateau 300 and
              some thousand dollars, would you have included that in the
              schedules?

       A.     Absolutely.

                                        *     *     *

       Q.     Did you have occasion to discuss with her the importance of
              disclosing all her debts?

       A.     With every client all debts and all assets, whether you want to file
              bankruptcy on them or not because it’s a common misconception in
              my clientele.

       Q.     What is that misconception?

       A.     That if they do not want to declare, that they’re not going to pay a
              particular creditor they don’t have to list it on the schedule. In other
              words, if they are planning to pay a creditor such as their house or

                                             -13-



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              their car, they feel they don’t have to list it and it’s something that
              we have to clarify with all of them, all clients. They have to tell us
              everybody.

       Q.     As you sit here today you’re absolutely certain that you told her that,
              you told Ms. Koch that?

       A.     Do I recall telling her that specifically, no. But it’s like, do you
              recall saying “amen” after the sermon? I mean, it’s something you
              do, it’s something I do with all clients.

       Q.     How long have you been practicing bankruptcy law?

       A.     To some degree for 30 years.

       Q.     Do you have kind of a speil that you give to every person that comes
              in?

       A.     Yes, that’s part of the speil.

       Q.     And that’s part of the speil?

       A.     Correct.

(Dep. at pp. 98-99). At some point, Attorney Krall discussed the importance of disclosing

all relevant pre-petition transfers of property:

        Q.    Do you recall as you sit here today having discussed the importance
              of disclosing transfers within a year prior to bankruptcy or any
              transfers that are required on the Statement of Financial Affairs?

       A.     Well, you know, not prior to the case being filed. I’m sure I would
              have because I went over it with her but it was after I learned of the
              transfers that we had some very extensive discussions and that was
              after the case was filed, probably after the deposition in May.

       Q.     Specifically, the transfer of the jet ski or personal water craft to her
              daughter?



                                               -14-



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       A.        Yeah, we talked about that.23

(Dep. at pp. 105-106). Exhibit 7 to Attorney Krall’s deposition is a document called Dos

and Don’ts that Attorney Krall provided to his clients. It contains the following

instruction:

       Do not transfer property you own into someone else’s name to avoid it
       being taken by creditors or the trustee. That kind of transfer is a fraud on
       creditors and can result in your discharge being denied. In addition, the
       trustee can take the property from the person to whom it was transferred.

                                          *       *     *

       Don’t Sell or Transfer or give away any Assets you have without
       contacting me first. The filing of your Chapter 7 Bankruptcy petition
       creates a Bankruptcy Estate which temporarily comes under the control of
       the Trustee who is assigned to your particular case. The Trustee’s job is to
       Liquidate (sell and reduce to cash) any property that is not exempt under
       State or Federal Law. Typically, few Chapter 7’s that I file have any assets
       that are liquidated, and usually if there are likely to be assets in a case, I will
       have informed you of any potential Trustee liquidation before filing.
       Nevertheless, DO NOT sell, give away, transfer title, settle any personal
       injury lawsuits or otherwise dispose of any of your property while your
       Chapter 7 Bankruptcy is pending.

(Emphasis in original).

       Although he reviewed the documents with Koch, Attorney Krall did not recall her

actually signing the schedules or Statement of Financial Affairs (“SOFA”):

       A.               [T]here’s another printed version of the petition and schedules
                        that were filed.

       Q.               Are there any actual wet signatures on that document?



       23
            Koch says she did not recall these discussions but the Court finds they did occur.

                                                 -15-



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     A.          No.

     MS. BERG: Now, earlier I asked you if you had wet signatures and you
               showed me signatures in ink [that] appeared to be original
               signatures. What were those to, which set of these
               documents?

                                      *    *     *

     Q.          Mr. Krall, I remember seeing those that you emailed me, but
                 those look like drafts basically, I mean, there’s handwriting
                 on those?

     A.          Right, this is when we sat down on the 24th.

                                      *    *     *

     Q.          So not to cut to the chase, but are there any final printed
                 versions of the schedules with wet signatures, schedules,
                 Statement of Financial Affairs?

     A.          You know, the only thing that I’ve been able to find is [the]
                 petition with the wet signature.

                                      *    *     *

     Q.          How about schedules?

     A.          Well, they weren’t printed at that time, they’re handwritten.

     Q.          How about Statement of Financial Affairs?

     A.          Same thing.

     Q.          So did she [Koch] ever have an opportunity to review a final
                 version of the documents before they were filed?

     A.          Not that I recall.

     Q.          Did she [Koch] ever sign a copy of the final [s]chedules or
                 Statement of Financial Affairs before they were filed?

                                          -16-



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       A.               Not that I recall.

                                             *      *   *

       Q.               I don’t see any signature page in this group of documents that
                        were attached to your email, the signature page for the
                        schedule which is actually just a Schedule B, I don’t see any
                        of the other schedules with this? Point of fact, I didn’t see a
                        signature page for the schedules, an actual signed signature
                        page for the schedules anywhere in the documents that you
                        sent yesterday?

       A.               And I can’t find it here.

                                             *      *   *

       Q.               Do you typically send clients a final version of the [s]chedules
                        and Statement of Financial Affairs after they’ve been filed
                        with the court?

       A.               You know, typically I give it to them when they sign.

       Q.               Okay. But that didn’t happen here?

       A.               No, it did not.

(Dep. at pp. 25-27, 34, 84). There is a dispute regarding whether Attorney Krall

discussed Schedule B with Koch: he testified that he did; Koch did not recall such a

discussion.24 Koch did not sign Schedule B. However, she did sign a draft of a SOFA

that does not include the pre-petition property transfers to Allison.

       Attorney Krall testified that he did not confer with Koch’s accountant before he

filed her schedules because he was told there no documents related to Koch’s businesses.



       24
            The Court resolve the dispute in Attorney Krall’s favor.

                                                 -17-



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       At trial, Koch testified that she completed two pieces of paper entitled Documents

Needed and Initial Client Questionnaire. However, Koch asserts that Attorney Krall did

not review these documents with her–nor did he review the schedules or the SOFA–and

there was nothing in the documents that would have prompted her to disclose the pre-

petition property transfers.25 According to Koch, she did not see the schedules or the

SOFA until she retained her current attorney. In Koch’s words, Attorney Krall did not

explain one thing or ask her one question.

       E.        Koch’s Original Bankruptcy Filing

       Due to a pending foreclosure on her house and other financial problems–including

a more than $2 million judgment entered against her for unpaid rent at the Partridge Creek

Tin Fish–Koch filed an individual Chapter 7 bankruptcy on February 26, 2015. Her

schedules, Declaration Concerning Debtor’s Schedules, and SOFA were filed on March

12, 2015. These documents bore Koch’s electronic signature under penalty of perjury.

Koch also admitted in the Answer to the Amended Complaint at paragraphs three and

four that she signed the schedules and SOFA under penalty of perjury as being true and

correct.26




       25
            Line 46 of the Initial Client Questionnaire asks for “other transfers.”
       26
         Koch’s current counsel indicated this was an error on his part and should not be
held against his client. Admirable, but the Court finds the admission binding upon Koch.
Even if the Court found otherwise, Koch’s discharge would still be denied.

                                                 -18-



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       Koch’s original Schedule B was incorrect: it indicates that she did not have an

annuity,27 and only lists an interest in Tin Fish of Novi and Tin Fish III.28 Koch’s original

Schedule F incorrectly lists a debt to Partridge Creek in the amount of $50,000.00;29 and

did not list a $350,000.00 debt Koch owed Father Paul.30 Koch’s original Schedule I

indicates that the she is employed, but shows $0.00 in income. Finally, the original

Schedule J shows $0.00 in expenses.

       In addition, the original SOFA did not list the pre-petition transfers to Allison.

       F.     341 Meeting of Creditors

       The 341 Meeting of Creditors occurred on April 2, 2015. Attorney Krall testified

that, before the meeting, he told Koch what to expect and the questions that might be

asked. However, Krall’s son, who is also an attorney, appeared at the meeting.

       Koch provided the following 341 testimony–under oath:

       Q.     You’ve listed all of your assets and all of your liabilities; is that
              right?

       A.     Yes.


       27
        Koch testified at trial that she forgot about her annuity because she had not had
any activity from that account in approximately 10 years; she only received one statement
from Merrill Lynch regarding this annuity between 2014 and December 2015.
       28
        According to Attorney Krall, he was “not aware that [Koch] was involved in
other businesses.”
       29
       Attorney Krall testified that he was told that Partridge Creek’s judgment was in
the amount of $50,000.00; he did not obtain a copy of the judgment.
       30
        Koch testified at trial that she did not tell Attorney Krall about the debt to Father
Paul because it was “basically forgiven” by him.

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       Q.      Should there be any corrections or changes at all at this point in
               time?

       A.      No.

(Dkt. #31-3 at p. 4). Koch testified, at trial, that she did not know the Chapter 7 Trustee

was referring to her schedules and SOFA but did not ask for clarification. According to

Koch, the room was very intimating; she felt like she just needed to agree.

       After the 341 meeting, Attorney Krall’s son informed him that Koch had an

interest in several businesses that were not listed on the SOFA. However, Krall did not

file any amendments because:

       I was concerned I was not getting accurate information or complete
       information. And her deposition came up or 2004 Exam came up and found
       out that there was more information I was not getting, and started asking
       Ms. Koch to start providing more information, you know, she needed to go
       to banks to get statements, go to banks and get statements, if she needed to
       go to brokers who sold real estate for her she should go to those brokers and
       get those, go to the title company or, you know, the Secretary of State get
       titles of property she transferred.

       I mean, I was not comfortable that I had accurate information at that point
       in time to file an amendment.

(Dep. at p. 56).31




       31
       Koch testified, at trial, that Attorney Krall was supposed to contact her
accountant to get the documents he needed.

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      G.     The UST’s Complaint

      The UST filed a Complaint on June 30, 2015, seeking to deny Koch’s discharge

under 11 U.S.C. §§ 727(a)(2)(A) and (B); 727(a)(3); and 727(a)(4)(A), (B), (C), and

(D).32 The UST later dropped the section 727(a)(3) claim.

      Specifically, the UST alleges:

      1.     Within one year before the bankruptcy filing, Koch transferred property to
             Allison with the intent to hinder, delay, or defraud creditors and concealed
             the transfers by failing to report them on her SOFA.

      2.     Koch intended to hinder, delay, and defraud creditors by concealing her
             income and personal financial condition when she used Allison’s bank
             account and the bank accounts of numerous related entities for her
             individual income and expenses.

      3.     Koch knowingly and fraudulently concealed the transfer of the water craft
             by failing to report it in the SOFA.

      4.     Koch knowingly and fraudulently stated under oath at the 341 Meeting of
             Creditors that her schedules and SOFA were accurate.

      5.     Koch intentionally omitted a $350,000.00 debt to Father Paul.

      6.     Koch concealed the transfer of assets to Allison, all of her personal
             financial transactions in 2013 and 2014, and her unfettered access to money
             in Allison’s personal and business bank accounts.




      32
        Of these, the Court finds that only sections 727(a)(2)(A) and 727(a)(4)(A) are
applicable.

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       H.     Koch’s Amended Bankruptcy Filing

       Ten months after her original filings, and after retaining new counsel, Koch, at

last, filed amended schedules and an amended SOFA on January 18, 2016.33 Schedule

A/B includes her interest in all of her companies, and lists a retirement annuity.34

Schedule E/F includes a debt to Father Paul in the amount of $350,000.00; and lists the

correct amount owed to Partridge Creek: $2,849,274.30. Finally, Schedules I and J

reflect $1,000.00 per month in income and $1,527.30 in expenses.

       Koch’s amended SOFA includes the pre-petition transfers of the water craft,

Saturn Sky, and Jeep Grand Cherokee.

       I.     Koch’s Justifications

       Koch argues that she should not be denied a discharge for the following reasons:

       1.     She did not transfer or conceal property within one year before the
              bankruptcy was filed or since the petition was filed.

       2.     She did not make a false oath regarding her assets and liabilities, or conceal
              her assets or the transfers to Allison because she did not sign–or even
              review–the schedules and SOFA that were filed with the Court.

       3.     She was never asked at the 341 Meeting of Creditors about the accuracy of
              the schedules or SOFA.



       33
        Attorney Krall testified that he was amending the documents but did not file the
amendments for two reasons: (1) Koch informed him that she was trying to find new
counsel; and (2) Koch did not provide him all of the documents necessary to ensure the
information was correct.
       34
        The nonexempt portion of the annuity–approximately $9,000.00–was turned over
to the Chapter 7 Trustee on January 27, 2016.

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       4.     She explained the circumstances of the transfer of the water craft when
              questioned about it and disclosed all of the pre-petition property transfers to
              Allison in the amendments to her SOFA. According to Koch, the Saturn
              Sky and the Jeep Grand Cherokee belonged to Allison since they were
              purchased; they were titled in Koch’s name for insurance purposes. The
              water craft was transferred into Allison’s name so she could sell it.

       5.     There are no financial transactions between Allison’s bank account and the
              bank accounts of other entities within one year prior to her bankruptcy
              filing.

       6.     Her financial transactions were complex, but she did not have the intent to
              hinder, delay, or defraud creditors.

       7.     She was ill-advised and misrepresented in the preparation and filing of the
              original schedules and SOFA by her first bankruptcy attorney. According
              to Koch, her previous counsel–who she relied on–was “nonexistent”; there
              was a lot she did not understand.

IV.    CONCLUSIONS OF LAW

       A bankruptcy debtor has a “paramount duty” to provide truthful and complete

answers. Johnson v. Baldridge (In re Baldridge), 256 B.R. 284, 289 (Bankr. E.D. Ark.

2000). Compliance with this duty promotes the integrity of the system, and permits

parties in interest to rely on the information in the schedules and SOFA without

examination or investigation. Id. Koch’s serious omissions and false statements warrant a

denial of discharge; her new counsel’s valiant effort to save her discharge by providing

revelatory and complete amendments–ten months later–will not excuse the dishonest acts

of a sophisticated businesswoman.

       Further, while “reliance on counsel can show that the Debtor lacked the requisite

intent required to deny [her] discharge,” Buckeye Ret. Co., LLC, LTD. v. Swegan (In re


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Swegan), 383 B.R. 646, 656 (B.A.P. 6th Cir. 2008), to prevail on this theory, Koch must

show: (1) full disclosure of all pertinent facts to counsel; and (2) good faith reliance on

counsel’s advice. Eifler v. Wilson & Muir Bank & Trust Co., 588 F. App’x 473, 478-79

(6th Cir. 2014) (citing In re Swegan, 383 B.R. at 656). Koch–who had been a business

owner for more than 30 years–failed to disclose even the most basic information to

Attorney Krall–such as all of the businesses she owned. She cannot, under these

circumstances, fail to disclose required information and then blame him.

       A.     Koch’s Credibility

       After hearing Koch’s often conflicting answers to questions and observing her

demeanor on the witness stand, the Court does not find her to be a credible witness. See

United States v. Crousore, 1 F.3d 382, 386 (6th Cir. 1993) (“[c]redibility determinations

are for the trial court, not for the court of appeals. Unless the district court’s finding of

fact is clearly erroneous, we must accept it”). For example, Koch’s signature has a

distinctive loop. At times, this loop appears over Allison’s signature stamp, and leaves

the impression that Koch’s personal use of her daughter’s checks was so frequent as to be

indistinguishable from the use of her own checking account. But, when questioned about

the loop, Koch was–at a minimum–evasive, necessitating the Court’s intervention:

       MS. BERG:             You see that mark over her signature?

       KOCH:                 Mark?

       JUDGE:                What mark are you referring to?

       MS. BERG:             The loop . . . over her signature.

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      KOCH:                  Ok.

      MS. BERG:              Do you recognize that marking?

      KOCH:                  No.

(Dkt. #61 at 36:59-37:19).

      MS. BERG:              Do you see that loop over the signature line?

      KOCH:                  Yes I do.

      MS. BERG:              You recognize that loop?

      KOCH:                  No.

      MS. BERG:              That doesn’t look like the loop that you sign your name
                             with?

      KOCH:                  Possibly, possibly, yes.

(Dkt. #63 at 8:58-9:10).

      JUDGE:                 Did you sign that Check #105?

      KOCH:                  Did I?

      JUDGE:                 Yes.

      KOCH:                  No. I endorsed it.

      JUDGE:                 I’m talking about that signature that has that sort of familiar
                             loop in the beginning of it.

      KOCH:                  No. That’s Allie’s signature.

      JUDGE:                 Pardon me.

      KOCH:                  That’s Allie’s.

      JUDGE:                 She has that loop as well?

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       KOCH:                No.

       JUDGE:               So where did the loop come from?

       KOCH:                It could have been my loop.

       JUDGE:               Why would your loop be on her signature block?

       KOCH:                I don’t know.

       JUDGE:               Just a question.

       KOCH:                Ok.

       JUDGE:               Do you have an answer for that?

       KOCH:                No sir. I do not.

       JUDGE:               Ok.

(Dkt. #65 at 19:37-20:22).35

       The Court also finds Koch’s failure to comprehend her obligation to fully disclose

her assets, liabilities, and relevant transfers absent specific and detailed prompting from

her first attorney belied by her history of navigating complex financial disclosure

requirements as a business owner.

       The Court now addresses the UST’s substantive arguments.




       35
         While the vast majority of the checks at issue were negotiated more than one year
prior to Koch’s bankruptcy filing, the Court, alternatively, finds a continuing concealment
sufficient to also extend the look-back period and deny Koch’s discharge under section
727(a)(2)(A).

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       B.       11 U.S.C. § 727(a)(2)(A)

       The UST argues that Koch should be denied a discharge under 11 U.S.C. §

727(a)(2)(A):

       The court shall grant the debtor a discharge, unless–the debtor, with intent
       to hinder, delay, or defraud a creditor or an officer of the estate charged
       with custody of property under this title, has transferred, removed,
       destroyed, mutilated, or concealed . . . –property of the debtor, within one
       year before the date of the filing of the petition.

Fraudulent intent requires actual–not constructive–fraud. However, because debtors

rarely admit fraudulent intent, it may be inferred from the circumstantial evidence. United

States Trustee v. Zhang (In re Zhang), 463 B.R. 66, 78-79 (Bankr. S.D. Ohio 2012). “[A]

finding of fraudulent intent is a question of fact that is highly dependent on the

bankruptcy court’s assessment of the debtor’s credibility.” Jahn v. Hughes (In re

Hughes), 490 B.R. 784, 792 (Bankr. E.D. Tenn. 2013) (internal quotations and citation

omitted).

       According to the UST, the transfer and concealment of the water craft, Saturn Sky,

and Jeep Grand Cherokee satisfy section 727(a)(2)(A).36 The Court agrees.




       36
        Neither the Saturn Sky nor the Jeep Grand Cherokee were included in the UST’s
amended Complaint. However, Fed. R. Civ. P. 15(b)(1) allows the Court to freely amend
the pleadings at trial if it will aid in presenting the merits and Koch fails to prove that the
evidence prejudices her defense. The Court does not find that amending the pleadings
would prejudice Koch: the transfer of the Saturn Sky and the Jeep Grand Cherokee were
mentioned in the UST’s response to Koch’s motion for summary judgment that was filed
on August 5, 2016; and Koch addressed the transfers on August 18, 2016.

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       First, Attorney Krall specifically asked Koch if she transferred property within the

last two years, gave her written instructions not to transfer property and warned her that

doing so could result in the denial of her discharge, and the Initial Client Questionnaire

contained a space to include “other transfers.” Being a sophisticated businesswoman,

Koch did not inadvertently fail to disclose the transfers to Attorney Krall: she knew, or

should have known, to at least mention to Attorney Krall that the titles to the vehicles and

water craft were placed in Allison’s name within one year before the bankruptcy filing.

See Brock v. Weeden (In re Weeden), 306 B.R. 449, 459 (Bankr. W.D.N.Y. 2004) (“As an

intelligent, educated and financially sophisticated individual, the Debtor could not

honestly or inadvertently have failed to disclose the sale . . . in Question 10 of her

[SOFA].”); Crocker v. Cooper (In re Cooper), No. 315-90523 (Bankr. M.D. Tenn.

December 8, 2016) (“The debtors offered excuses for failing to disclose all of their

property, but the Court finds that their explanations are not plausible given the debtors’

education and experience.”). Indeed, Koch transferred title to the water craft and Jeep

Grand Cherokee to Allison just 16 days before her bankruptcy filing. Given the timing

and failure to disclose, anything less than an improper motive strains credulity.

       Second, Koch is correct that she disclosed the transfers on her amended SOFA.

However, “[g]enerally, a debtor’s amendment of [her] schedules and/or reporting of

omissions or misstatements prior to or at the meeting of creditors evidences a lack of

fraudulent intent.” Buckeye Ret. Co., LLC v. Heil (In re Heil), 289 B.R. 897, 908 (Bankr.

E.D. Tenn. 2003) (emphasis added). Koch’s 341 Meeting of Creditors occurred on April

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2, 2015; she did not mention the transfers at that time. Instead, knowing that: (1)

Allison’s name was placed on the titles to the vehicles and water craft within one year

before filing bankruptcy; (2) she had not mentioned this information to Attorney Krall;

and (3) Attorney Krall filed her bankruptcy petition on February 26, 2015, Koch allowed

the documents to remain part of the Court file for approximately 10 months until the

transfers were finally disclosed on January 18, 2016. Koch had ample time to ask

Attorney Krall to review what he filed so she could confirm the accuracy of the

documents.

       Finally, Koch argues that the vehicles and water craft were not transferred to

Allison within one year before the bankruptcy filing: they were always her property; the

names on the titles were simply changed within one year before the bankruptcy filing.

She relies on a case that held: “the certificate of title was not conclusive evidence on the

issue of ownership of the automobile, and the court was not in error in . . . deciding the

issue of ownership upon the evidence.” Wood v. Merchants Ins. Co. of Providence, 289

N.W. 259, 260 (Mich. 1939). However, there is a statutory presumption that Koch, as the

person shown on the certificate of title, is the owner of the vehicles and water craft. See

MICH. COMP. LAWS § 257.37(b) (defining “owner” as “a person who holds the legal title

of a vehicle); Guijosa v. Kaylor, No. 218534, 2000 WL 33394520, at *2 (Mich. Ct. App.

Dec. 19, 2000) (“the presence of defendant’s name on the certificate of title for the

vehicle at the time of the accident created a presumption that defendant was an owner of

the vehicle”). Koch’s uncorroborated testimony that she purchased the vehicles for

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Allison is insufficient to overcome this presumption. In fact, Koch testified that she paid

for the vehicles and drove them on occasion.37 And there is no evidence that there was an

express trust making Allison a beneficial owner. See Scarney v. Clarke, 275 N.W. 765,

767 (Mich. 1937) (“To constitute an express trust there must be an explicit declaration of

trust, or circumstances which show beyond reasonable doubt that a trust was intended to

be created.”).

       C.        11 U.S.C. § 727(a)(4)(A)

       The UST next argues that Koch should be denied a discharge under 11 U.S.C. §

727(a)(4)(A) because she “knowingly and fraudulently, in or in connection with the

case[] made a false oath or account[.]” To deny Koch’s discharge under this section, the

UST must demonstrate that:

       (1) Koch made a statement under oath; (2) the statement was false; (3) Koch
       knew the statement was false; (4) Koch made the statement with fraudulent
       intent; and (5) the statement related materially to the bankruptcy case.

Keeney v. Smith (In re Keeney), 227 F.3d 679, 685 (6th Cir. 2000). However, if the false

information is the result of mistake or inadvertence, Koch remains entitled to a discharge.

McDermott v. Schwartz (In re Schwartz), 527 B.R. 266, 275 (Bankr. E.D. Mich. 2015)

(quoting In re Keeney, 227 F.3d at 685-86).




       37
        Presumably, Koch’s name was on the insurance considering the fact that the
vehicles were titled in Koch’s name for “insurance purposes.”

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       Statements made at Koch’s 341 Meeting of Creditors constitute statements under

oath. Noland v. Johnson (In re Johnson), 387 B.R. 728, 743 (Bankr. S.D. Ohio 2008)

(citing Hamo v. Wilson (In re Hamo), 233 B.R. 718, 725 (B.A.P. 6th Cir. 1999)).

       Koch essentially argues that she should not be held responsible for the answers

provided at the meeting because the questions were ambiguous, she was not asked to

confirm the accuracy of her schedules and SOFA, the room was intimating, Attorney

Krall was not present, and she did not understand the questions. These arguments lack

merit. Again, Koch is a sophisticated businesswoman who could have easily asked for

clarification from either the Chapter 7 Trustee or Attorney Krall’s son who was present.

Instead, when asked if she has “listed all of [her] assets and all of [her] liabilities,” she

responded affirmatively; when asked if “there [were] any corrections or changes,” she

responded negatively. At minimal, Koch knew she had not informed Attorney Krall or

included a $350,000.00 debt to Father Paul in her bankruptcy. See Dkt. #31-4 at p. 46:

       Q.     Okay. Now, I don’t see him [Father Paul] listed in your bankruptcy
              schedules, why is that?

       A.     I, I just, I can’t do that to him. He knows, he knows the situation and
              I’ll do what I can.

An intentional omission of a creditor is sufficient to satisfy section 727(a)(4). See Sawyer

v. Budrow (In re Budrow), 194 B.R. 172, 175 (Bankr. W.D. Tenn. 1996):

       The facts of this case establish that these debtors knowingly omitted
       creditors; thus, their petition was wilfully incomplete and they made false
       oaths when they signed their petition as being “true and correct.” Under 11
       U.S.C. § 727(a)(4)(A), this would be sufficient grounds to deny the debtors’
       discharge in this particular case.

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V.     CONCLUSION

       The UST has met its burden and established by a preponderance of the evidence

that Koch is not entitled to a discharge. Accordingly, the Court will enter a judgment in

favor of the UST, denying Koch a discharge pursuant to sections 727(a)(2)(A) and

727(a)(4)(A) of the bankruptcy code.

       IT IS ORDERED.




Signed on January 13, 2017                       /s/ Mark A. Randon
                                                 Mark A. Randon
                                                 United States Bankruptcy Judge




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